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Declaration of SOS Alexa George

I ama Tactical Specialist — Staff Operations Specialist (SOS) with the Federal Bureau of
Investigation. J have been employed with the FBI as an SOS at the Washington Field Office
since August 2015. My duties include tactical analysis and research in support of investigations
into the online sexual exploitation of children, in violation of 18 US.C. §§ 2251 and 2252, which
criminalize, among other things, the production, advertising, possession, receipt and
transportation of child pornography. As an SOS with the FBI, I have basic and on-the-job
training in the investigative area of child exploitation and child pornography.

On 09/08/2021, SA Richard Guida forwarded National Center for Missing and Exploited
Children (““NCMEC”) CyberTip 87555105 to me via email.

After coordination with the case agents, I drafted a preservation letter to Google for email
address, gmail.com. The preservation letter was served through Google’s Law
Enforcement Portal, lers.google.com, on 09/09/2021. Google sent me a confirmation email
acknowledging receipt on 09/09/2021 at 6:12 PM. The preservation letter was drafted using a
-template and a typographical error was made which mistakenly dated the letter 03/10/2021.

Under penalty of perjury, the information provided above is true an accurate to the best of my
knowledge and belief.

AQ BAG /23

Alexa Rae George Date
Staff Operations Specialist
Federal Bureau of Investigation

 
